 

  

ARC Matiagement Group, LLC infn@arcechects con
1875 Barrett Lattes Blvd, SulteSOS Toll Free #-066-S10-2754
Aennesavt: GA Z0jS¢75 19 Local 678-426-8206

   

 
 

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Mangement irene sae Uti
. Office Hours

Sam-Gpm EST Munday, Wednesday, Friday

RE: a 40868569 _ . Sam-Spi EST Tuesday and Thursday

Original Creditor: STERLING EMER SVCS MIAMI BEAGH P

Guarantor: HARRY D GREEN iy + Onde
Patient: GREEN, HARRY D November 7, 20178
File 12172274

Amount Duet §2275.00

This office has been retained for the collection of the above referenced debt. Your accountis past due and we are requesting that
you remit the amount listed above fo our office. [tis our intention te bring resolution to this matier. This debi was imeurred when you
received services on 05-02-18 from STERLING EMER SVGS MIAM! BEACH P. These services were rendered at MT SIMA!
MEDICAL CENTER, This debt is for the physician services whicir are billed separately from the facility charges.

STERLING EMER. SVCS MIAMI BEACH PF sent the account to this office for collections. Your insurance provided at the time of
service hes been billed and payments received have been applied to. your balance. The amount due is your responsibility, if the
insurance. company paid you directly, it is your rasponsibility to-_pay STERLING EMER SVCS MIAME BEACH P. Wf you haved
question about your insurance, please contact us at the number listed above.

ik is our intention to bring resolution tothe matter. Unless you dispute the validity of this dest or any portion thereof within (20) days
af receipt of this notice, we will assure the debbis valid, if you notify us in writing within the thirty (90) day period that the debt or
any portion thereof is disputed we will obtain verification. of the dabt or a copy af a Ridgment against. you anda copy of such
verification or judgment will be mailed te you. Hf you request in writing within thirty (0) days after receipt of nolice, we will provide
you with the name and address of the original creditor if different from the current creditor.

This is an attempt (6 collect 4 debt. and atiy information obigined will be used for that purpose.

Should you fail te respond to this letter, we may pursue further callection efforts allowed under all applicable law. If you have any
questions, please contact this office.

You san pay yeur bill via the internet at wanw.aromami.com (click on Pay Your Bill Here}. To ensure preper credit, please use. your
file number listed below. You may alsa mit your payment using the enclosed envelope. All funds should be payable to STERLING
EMER SVCS MIAMI BEACH P to ensure proper credit,

We can be reached for further discussion at 1-866-510-9754. Your srompt attention to this matter is appreciated.

Sincerely,
ARC Management Group, LLC

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Oaks PA "79456-1280  GERORGLGER RAM" - ——y, ae
“CARDHOLDER SIGNATURE ~~
November 7, 2018 ARG Management Group, LLC
4825 Barrett Lakes Bivd,, Suite 505
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HARRYDGREEN
1145 01st St Apt 4
Bay Harbor islands FL d3784-1626. RE: 40868569
Original Creditwr: STERL ING EMER SVCS MIAMIBEACH P
Guarantor: HARRY D GREEN
Patient; GREEN, HARRY 0:
Fite #: 42472274

Ameunt Due: $2275.00
